          Case 1:18-cr-00021-FJS Document 38 Filed 09/01/20 Page 1 of 2

                    UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK
                                Amended (10/08/2013)


               NORTHERN DISTRICT UNIFORM PRESENTENCE ORDER


UNITED STATES OF AMERICA

        vs.                                               Criminal No: 1:18-cr-21 (FJS)

Robert Chaires


        A presentence report is ordered and the sentencing of this defendant is scheduled for
December 8, 2020 at 11:30am at the United States Courthouse in the city of Albany. (Sentencing
is scheduled approximately 120 days from the date of this order).

        The presentence report shall be available no later than forty-five (45) days before the
sentencing date. It shall be the obligation of defense counsel to obtain the report as soon as it is
available and discuss its contents with his/her client.

        Objections to the presentence report, either by the government or defense counsel, shall be
submitted in writing (in letter form) to the U.S. Probation Office and opposing counsel within
fourteen (14) days of disclosure of the report. The government shall, at the same time, make known
whether it is their intention to make a motion under U.S.S.G. Section 5K1.1, for substantial
assistance to the authorities. Both the government and defense counsel shall, at the same time, make
known their intention to make any other motion(s) for downward departure.

        After receipt of this information, the U.S. Probation Office shall, if necessary, schedule and
hold a sentencing conference with the government and defense counsel to attempt to resolve the
objections to the presentence report. Such conference, if held, shall be scheduled within seven (7)
days of receipt of the written objections.

       No later than twenty-one (21) days prior to sentencing, all counsel shall, unless otherwise
directed by the Court, submit a sentencing memorandum not to exceed 10 pages in length. This
memorandum shall include objections to the presentence report which could not be resolved and any
recommendations, motions or other material which may impact the sentence imposed. This
memorandum shall be filed electronically.

        Parties must file electronically any papers in response to these submissions within seven (7)
days thereafter. The U.S. Probation Office shall submit the presentence report with an addendum
setting forth any unresolved objections to the Court no later than seven (7) days before sentencing.
The Probation Office shall simultaneously provide the government and defense counsel with any
revisions to the presentence report and the addendum.
          Case 1:18-cr-00021-FJS Document 38 Filed 09/01/20 Page 2 of 2

        NOTE: If for any reason, the government or defense counsel want any of their submissions
sealed, they should prepare and submit an application to seal and provide the Court with a sealing
order with the submission to be sealed. Sealed documents are not filed electronically, therefore these
documents shall be filed and served in the traditional manner.

        The time limits stated in this order are in calendar days. These procedures must be followed
to allow sufficient time for the Court to read and analyze the material submitted.


IT IS SO ORDERED.


DATE: August 31, 2020

                                                          FREDERICK J. SCULLIN, JR.
                                                          Senior U.S. District Judge
